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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 IN RE NATIONAL PRESCRIPTION
 OPIATE LITIGATION
                                                  MDL No. 2804
 This document relates to:
                                                  Case No. 17-md-2804
 Cabell County Commission v.
 Amerisourcebergen Drug Corporation, et al.,      Hon. Dan Aaron Polster
 Case No. 1:17-op-45053-DAP

 City of Huntington, West Virginia v.             ORDER GRANTING PLAINTIFFS’ JOINT
 Amerisourcebergen Drug Corporation, et al.,       MOTION FOR LEAVE TO FILE JOINT
 Case No. 1:17-op-45054-DAP                        AND THIRD AMENDED COMPLAINT
                                                            UNDER SEAL



       Plaintiffs have filed a Joint Motion for Leave to File their Joint and Third Amended

Complaint Under Seal in the following cases: Cabell County Commission v. Amerisourcebergen

Drug Corporation, et al., Case No. 1:17-op-45053-DAP and City of Huntington, West Virginia v.

Amerisourcebergen Drug Corporation, et al., Case No. 1:17-op-45054-DAP.

       The Joint Motion states that filing Plaintiffs’ Joint and Third Amended Complaint under

seal is necessary to ensure compliance with the following Orders:

           1) the Consolidated ARCOS Protective Order Re: DEA’s ARCOS/DADS Database,

              Doc. 1545 (hereinafter “ARCOS Protective Order”); and

           2) Case Management Order No. 2: Protective Order, Doc. 441.
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       The Joint Motion states that the Joint and Third Amended Complaint will contain

information that is subject to the following Orders:

           1) the Consolidated ARCOS Protective Order Re: DEA’s ARCOS/DADS Database,

               Rec. Doc 1545 (hereinafter “ARCOS Protective Order”); and

           2) Case Management Order No. 2: Protective Order, Rec. Doc. 441.


       Plaintiffs’ Joint Motion for Leave to File their Joint and Third Amended Complaint Under

Seal is hereby GRANTED.


                 IT IS SO ORDERED.


                                                         /s/Dan Aaron Polster
                                                       _______________________________
                                                       DAN AARON POLSTER
                                                       UNITED STATES DISTRICT JUDGE




             10 2019
Dated: June ____,




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